                                                                                       Case
                                                                                       Case3:07-cv-05944-SC
                                                                                            3:07-cv-05944-JST Document2409-2
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                                                                                   Counsel for Plaintiffs Tech Data Corporation
                                               Miami, FL 33131-3456




                                                                              13   and Tech Data Product Management, Inc.

                                                                              14                              UNITED STATES DISTRICT COURT
                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                              15                                (SAN FRANCISCO DIVISION)
                                                                              16    In re: CATHODE RAY TUBE (CRT)                 CASE No. 13-CV-00157-SC
                                                                              17    ANTITRUST LITIGATION
                                                                                    __________________________________            Master File No. 07-cv-5944-SC (N.D. Cal)
                                                                              18    This Document Relates to Individual Case
                                                                                    No. 13-CV-00157-SC                            MDL No. 1917
                                                                              19
                                                                                    TECH DATA CORPORATION; TECH                   [PROPOSED] ORDER GRANTING
                                                                              20
                                                                                    DATA PRODUCT MANAGEMENT,                      TECH DATA CORPORATION AND
                                                                              21    INC.,                                         TECH DATA PRODUCT
                                                                                                                                  MANAGEMENT, INC.'S
                                                                              22                   Plaintiffs,                    ADMINISTRATIVE MOTION TO
                                                                                           vs.                                    FILE UNDER SEAL PURSUANT TO
                                                                              23                                                  CIVIL LOCAL RULES 7-11 AND 79-5
                                                                                    HITACHI, LTD; et al.
                                                                              24

                                                                              25                   Defendants.

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                                                                                   PROPOSED ORDER GRANTING TECH                                  MASTER FILE NO. 07-MD-5944 SC (N.D. CAL.)
                                                                                   DATA'S MOTION TO SEAL                                             INDIVIDUAL CASE NO. 13-CV-00157 SC
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                                                                                        Case3:07-cv-05944-SC
                                                                                             3:07-cv-05944-JST Document2409-2
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                                                                               1                                       [PROPOSED] ORDER

                                                                               2          This matter comes before the Court on Tech Data's February 27, 2014 Administrative

                                                                               3   Motion to File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5 (“Motion to

                                                                               4   Seal”). Having considered the Motion to Seal, the Declaration of Scott N. Wagner in support

                                                                               5   thereof, and any additional declarations subsequently filed in support, and good cause appearing

                                                                               6   therefore:

                                                                               7                  The Court hereby GRANTS the Motion to Seal and orders that the following are

                                                                               8   properly sealable and shall be sealed:

                                                                               9                         Highlighted portions of Tech Data's Opposition to

                                                                              10                         Thomson SA’s Motion to Strike (“Opposition”),

                                                                              11                         found on pages 7, 8, 10, 11 of the Opposition.
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                              12
                                               Miami, FL 33131-3456




                                                                              13                         Exhibit G to the Declaration of Scott N. Wagner
                                                                              14                         in Support of Tech Data's Opposition (“Wagner

                                                                              15                         Declaration”).

                                                                              16                         Exhibit J to the Wagner Declaration
                                                                              17                         Exhibit K to the Wagner Declaration
                                                                              18                         Exhibit L to the Wagner Declaration
                                                                              19                         Exhibit M to the Wagner Declaration
                                                                              20                         Exhibit N to the Wagner Declaration
                                                                              21                         Exhibit O to the Wagner Declaration
                                                                              22                         Exhibit P to the Wagner Declaration
                                                                              23                         Exhibit Q to the Wagner Declaration
                                                                              24                         Exhibit S to the Wagner Declaration
                                                                              25
                                                                                                         Exhibit T to the Wagner Declaration
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                                                                                                         Exhibit U to the Wagner Declaration
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                                                                                   PROPOSED ORDER GRANTING TECH                                    MASTER FILE NO. 07-MD-5944 SC (N.D. CAL.)
                                                                                   DATA'S MOTION TO SEAL                                               INDIVIDUAL CASE NO. 13-CV-00157 SC
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                                                                               2                         Exhibit V to the Wagner Declaration

                                                                               3                         Exhibit W to the Wagner Declaration

                                                                               4                         Exhibit X to the Wagner Declaration

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                                                                               7          IT IS SO ORDERED.

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                                                                              11                    March 7, 2014
                                                                                          DATED: _____________________               _________________________________
Bilzin Sumberg Baena Price & Axelrod LLP
                                           1450 Brickell Avenue, Suite 2300




                                                                              12                                                     HONORABLE SAMUEL CONTI
                                               Miami, FL 33131-3456




                                                                              13                                                     United States District Court Judge

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                                                                                   PROPOSED ORDER GRANTING TECH                                  MASTER FILE NO. 07-MD-5944 SC (N.D. CAL.)
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                                               Miami, FL 33131-3456




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                                                                                   PROPOSED ORDER GRANTING TECH                       MASTER FILE NO. 07-MD-5944 SC (N.D. CAL.)
                                                                                   DATA'S MOTION TO SEAL                                  INDIVIDUAL CASE NO. 13-CV-00157 SC
